                                          UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF ARIZONA

                                               Audio Record of Hearing Held
Hearing Information:
                         Debtor:   SKYLER AARON COOK
                  Case Number:     2:20-BK-01730-EPB                      Chapter: 7

          Date / Time / Room:      TUESDAY, JULY 11, 2023 10:00 AM TELEPHONIC HRGS


               Courtroom Clerk:
                Reporter / ECR:    MICHELLE RADICKE-STEVENSON                                                                   0.00


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Matters:

       1) ADV: 2-21-00336
              James E Cross, Trustee vs Valliance Bank & Shelby Bruhn & Katherine S. Bruhn
              STATUS CONFERENCE
              R / M #:   0/ 0

       2) ADV: 2-21-00336
              ORAL ARGUMENT ON MOTION FOR LEAVE TO AMEND COMPLAINT
              R / M #:   103 / 0

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